Case 3:22-cv-00049-NKM-JCH Document 142 Filed 01/25/23 Page 1 of 4 Pageid#: 1374




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


           PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM IN SUPPORT
          OF EXPEDITED MOTION TO SHOW CAUSE WHY DEFENDANTS
       JOSHUA AND STEPHANIE MAST SHOULD NOT BE HELD IN CONTEMPT
              FOR VIOLATING THE COURT’S PROTECTIVE ORDER

         On January 24, 2023, Plaintiffs filed their Expedited Motion To Show Cause Why

  Defendants Joshua and Stephanie Mast Should Not Be Held In Contempt For Violating The

  Court’s Protective Order (ECF No. 141) (the “Contempt Motion”). Plaintiffs file this



                                                 1
Case 3:22-cv-00049-NKM-JCH Document 142 Filed 01/25/23 Page 2 of 4 Pageid#: 1375




  Supplemental Memorandum in support of the Contempt Motion to bring to the Court’s attention

  that CBS broadcast this morning a second installment regarding this matter. This second

  installment provides additional evidence of the Masts’ contumacious conduct. In particular, it

  includes additional photographic and video images of Baby Doe that could have been obtained

  only from the Masts. In addition, Joshua Mast is shown passing unknown materials to the CBS

  reporter. See https://www.cbs.com/shows/video/f256eqF8EX7ojnNe_EWKGX8_TeFSCmNb/

         Accordingly, Plaintiffs ask that, in addition to the relief sought in their Contempt Motion,

  the Court order the Masts to produce immediately to the Court and to Plaintiffs copies of

  whatever materials (including information {such as photographs and video imagery) that directly

  or indirectly identifies Plaintiffs or their families) the Masts have provided to CBS, whether

  before, during, or after the in-person interviews.1



  Date: January 25, 2023                 Respectfully submitted,


                                         /s/ Maya Eckstein
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         1
           Plaintiffs note that page 3 of the Contempt Motion contains an incorrect date. The
  reference to “January 24, 2022” at the bottom of that page should read “January 24, 2023.”
                                                    2
Case 3:22-cv-00049-NKM-JCH Document 142 Filed 01/25/23 Page 3 of 4 Pageid#: 1376




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                                         3
Case 3:22-cv-00049-NKM-JCH Document 142 Filed 01/25/23 Page 4 of 4 Pageid#: 1377




                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 25th day of January 2023, I electronically mailed the foregoing

  to counsel of record in this case.




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